       Case 2:19-cr-00003-TLN Document 97 Filed 08/11/20 Page 1 of 1



1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MIA CRAGER, #300172
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     LUIS VALERIO MARTINEZ
6
7
                                IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,                       ) Case No. 2:19-cr-00003-JAM
                                                      )
11                     Plaintiff,                     )
                                                      ) ORDER EXTENDING SELF-SURRENDER
12            vs.                                     ) DATE TO JANUARY 17, 2021
                                                      )
13    LUIS VALERIO MARTINEZ,                          )
                                                      )
14                     Defendant.                     )
                                                      )
15                                                    )
16
             IS HEREBY ORDERED that the Motion to Extend Self-Surrender Date as to Luis
17
     Valerio Martinez is GRANTED. Mr. Valerio Martinez shall surrender to the institution
18
     designated by the Bureau of Prisons, or if no such institution has been designated, to the United
19
     States Marshal in Sacramento, CA before 2:00 p.m. on January 17, 2021.
20
21
     Dated: August 10, 2020
22                                                     /s/ John A. Mendez____________
23                                                     JOHN A. MENDEZ
                                                       United States District Court Judge
24
25
26
27
28
     [Proposed] Order to Extend Self-Surrender Date      -1-
